                                                                FILED
                                                              JAN 2 2018
                                         .                PETER A. MOORE, JR., CLENCRK
                                                          BYUS O~Tls COURT,o'fP cu<


        IN THE UNITED STATES DISTRICT COURT                           {)f

      FOR THE EASTERN DISTRICT OF NORTH CAROUNA

                            - - - - DIVISION




               V.                                   NO.

~ - ~~ -·                                       COMPLAINT

                                        ~ : r7 - c v ~             5c;: - o
~                   '' ~
c~~Plaintiff resides at:
 ~             ~       -(         ~p~

 ~ tvL                                  -2.7 1S-S-




                                    1



  Case 2:17-cv-00059-D Document 9 Filed 01/02/18 Page 1 of 3
Jurisdiction in this court is based on:

So~~




                               2


 Case 2:17-cv-00059-D Document 9 Filed 01/02/18 Page 2 of 3
,   .




           (If you need mon: space. or wisli   ID   include ury funl>cr information for comidcnOocl. please al1JICh additional shccu .)


        I seek the following relief:                                                                                                      l
        ~ ~                            &--=                        N v /r.e_ s ,s: p t\ss 1 ri/lc:S
        ~~ ~1s~o




             DATE                                                                                       SIONA11JU OF PU.INTll'F




                                                                                                ADDRESS AND PHONE NVMBEJt OF l't.A.ll'ml'F




                                                                          3


         Case 2:17-cv-00059-D Document 9 Filed 01/02/18 Page 3 of 3
